Case 3:22-cv-00211-SDD-SDJ   Document 255-3   07/21/23 Page 1 of 7




            Exhibit B




                               1
        Case 3:22-cv-00211-SDD-SDJ                                  Document 255-3                      07/21/23 Page 2 of 7


From:              Lewis, Patrick T.
To:                Lali Madduri; Prouty, Erika Dackin; McKnight, Katherine L.; Phil Strach; Murrill, Elizabeth; Alyssa Riggins; Freel, Angelique; Jones,
                   Carey; Cassie Holt; Jason Torchinsky; Wale, Jeffrey M.; John Branch; Mengis, Michael W.; McPhee, Shae; Tom Farr; Braden, E.
                   Mark; Dallin Holt; john@scwllp.com; Raile, Richard
Cc:                Abha Khanna; Jacob Shelly; Jonathan Hawley; Alison (Qizhou) Ge; J. Cullens; S. Layne Lee; Andrée M. Cullens; Savitt, Adam P;
                   Amitav Chakraborty; Jonathan Hurwitz; Leah Aden; Sarah Brannon; Stuart Naifeh; Alora Thomas; Victoria Wenger; Nora Ahmed;
                   Sara Rohani; Sophia LIn Lakin; Jared Evans; John Adcock; tracie.washington.esq@gmail.com; Megan Keenan
Subject:           RE: Robinson v. Ardoin / Galmon v. Ardoin -- Meet and Confer re Pre-Hearing Schedule
Date:              Friday, July 21, 2023 11:14:21 AM
Attachments:       image001.png
                   image002.png
                   image003.png


Counsel,

Thank you for your time yesterday to discuss a proposed pre-hearing schedule. As Defendant/Intervenors have
explained, we oppose any attempts by Plaintiffs to offer a new remedial plan at this stage and cannot agree to a
schedule that allows Plaintiffs to submit new maps and that provides Defendant/Intervenors with just two weeks to
respond to brand new maps and analyses.

We have modified our proposal below to reflect Plaintiffs’ concern with the timing of identification of witnesses and
adjusted the deposition and briefing deadlines to reflect supplementation of fact witness lists:

 Date                                               Deadline
 Friday, August 4, 2023                             Plaintiffs’ Supplemental Expert Reports Due
 Friday, August 11, 2023 August 18,                 Exchange Fact & Expert Witness Lists
 2023
 Friday, September 8, 2023                          Defendants’ Supplemental Expert Reports Due
 Tuesday, September 12, 2023                        Exchange Supplemental Fact Witness Lists
 Friday, September 15, 2023 Tuesday,                Deadline for Fact and Expert Depositions
 September 19, 2023
 Friday, September 22, 2023 Monday,                 Supplemental Memorandum in Support and Memorandum in Opposition of
 September 25, 2023                                 Proposed Remedial Plan Due
 Friday, September 29, 2023                         Exchange Final Witness Lists and Copies of Exhibits
 Tuesday, October 3 to Thursday,                    Preliminary Injunction Hearing on Remedy
 October 5, 2023

Please let us know by 2:00 pm ET if Plaintiffs if Plaintiffs agree to this proposed schedule. If Plaintiffs do not agree, we
will file a separate notice with the Court setting forth Defendant/Intervenors’ proposal.

Sincerely,

pl

Patrick Lewis
Partner


Key Tower
127 Public Square | Suite 2000
Cleveland, OH 44114-1214
T +1.216.861.7096

plewis@bakerlaw.com
bakerlaw.com




From: Lali Madduri <lmadduri@elias.law>
Sent: Thursday, July 20, 2023 12:50 PM
To: Prouty, Erika Dackin <eprouty@bakerlaw.com>; McKnight, Katherine L. <kmcknight@bakerlaw.com>; Phil
Strach <phil.strach@nelsonmullins.com>; Murrill, Elizabeth <MurrillE@ag.louisiana.gov>; Alyssa Riggins




                                                                          2
       Case 3:22-cv-00211-SDD-SDJ                   Document 255-3            07/21/23 Page 3 of 7


<alyssa.riggins@nelsonmullins.com>; Freel, Angelique <FreelA@ag.louisiana.gov>; Lewis, Patrick T.
<plewis@bakerlaw.com>; Jones, Carey <JonesCar@ag.louisiana.gov>; Cassie Holt
<cassie.holt@nelsonmullins.com>; Jason Torchinsky <jtorchinsky@holtzmanvogel.com>; Wale, Jeffrey M.
<WaleJ@ag.louisiana.gov>; John Branch <john.branch@nelsonmullins.com>; Mengis, Michael W.
<mmengis@bakerlaw.com>; McPhee, Shae <McPheeS@ag.louisiana.gov>; Tom Farr
<tom.farr@nelsonmullins.com>; Braden, E. Mark <MBraden@bakerlaw.com>; Dallin Holt
<dholt@holtzmanvogel.com>; john@scwllp.com; Raile, Richard <rraile@bakerlaw.com>
Cc: Abha Khanna <akhanna@elias.law>; Jacob Shelly <jshelly@elias.law>; Jonathan Hawley <jhawley@elias.law>;
Alison (Qizhou) Ge <age@elias.law>; J. Cullens <cullens@lawbr.net>; S. Layne Lee <laynelee@lawbr.net>; Andrée
M. Cullens <acullens@lawbr.net>; Savitt, Adam P <asavitt@paulweiss.com>; Amitav Chakraborty
<achakraborty@paulweiss.com>; Jonathan Hurwitz <jhurwitz@paulweiss.com>; Leah Aden
<laden@naacpldf.org>; Sarah Brannon <sbrannon@aclu.org>; Stuart Naifeh <snaifeh@naacpldf.org>; Alora
Thomas <athomas@aclu.org>; Victoria Wenger <vwenger@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>;
Sara Rohani <SRohani@naacpldf.org>; Sophia LIn Lakin <slakin@aclu.org>; Jared Evans <jevans@naacpldf.org>;
John Adcock <jnadcock@gmail.com>; tracie.washington.esq@gmail.com; Megan Keenan <MKeenan@aclu.org>
Subject: RE: Robinson v. Ardoin / Galmon v. Ardoin -- Meet and Confer re Pre-Hearing Schedule

Counsel,

See below for Plaintiffs’ proposed schedule. Looking forward to discussing this afternoon.

                    Event                    Defendants’ Proposed Deadline        Plaintiffs’ Proposed Deadline
 Deadline for the submission of plaintiffs’ Friday, August 4, 2023               Tuesday, August 15, 2023
 proposed map, supporting memoranda,
 and expert reports
 Deadline for defendants’ responses to      Friday, September 8, 2023            Tuesday, August 29, 2023
 plaintiffs’ proposed map and expert
 reports
 Deadline for parties to exchange fact      Friday, August 11, 2023              Friday, September 1, 2023
 and expert witness lists
 Deadline for fact and expert depositions Friday, September 15, 2023             Tuesday, September 19, 2023
 Deadline for supplemental memoranda Friday, September 22, 2023                  Tuesday, September 26, 2023
 in support of or in opposition to the
 proposed remedial maps
 Deadline to exchange final witness lists Friday, September 29, 2023             Tuesday, September 26, 2023
 and copies of exhibits
 Remedial hearing                           Tuesday, October 3 to Thursday,      Tuesday, October 3 to Thursday,
                                            October 5, 2023                      October 5, 2023




                                                         3
         Case 3:22-cv-00211-SDD-SDJ                                     Document 255-3                      07/21/23 Page 4 of 7




Lali Madduri
Counsel
Elias Law Group LLP
202-968-4593


CONFIDENTIAL: This email may contain privileged or confidential information and is for the sole use of the intended recipient(s). Any unauthorized use or
disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately and delete it
from your system.


From: Lali Madduri
Sent: Wednesday, July 19, 2023 5:37 PM
To: Prouty, Erika Dackin <eprouty@bakerlaw.com>; McKnight, Katherine L. <kmcknight@bakerlaw.com>; Phil
Strach <phil.strach@nelsonmullins.com>; Murrill, Elizabeth <MurrillE@ag.louisiana.gov>; Alyssa Riggins
<alyssa.riggins@nelsonmullins.com>; Freel, Angelique <FreelA@ag.louisiana.gov>; Lewis, Patrick T.
<plewis@bakerlaw.com>; Jones, Carey <JonesCar@ag.louisiana.gov>; Cassie Holt
<cassie.holt@nelsonmullins.com>; Jason Torchinsky <jtorchinsky@holtzmanvogel.com>; Wale, Jeffrey M.
<WaleJ@ag.louisiana.gov>; John Branch <john.branch@nelsonmullins.com>; Mengis, Michael W.
<mmengis@bakerlaw.com>; McPhee, Shae <McPheeS@ag.louisiana.gov>; Tom Farr
<tom.farr@nelsonmullins.com>; Braden, E. Mark <MBraden@bakerlaw.com>; Dallin Holt
<dholt@holtzmanvogel.com>; john@scwllp.com; Raile, Richard <rraile@bakerlaw.com>
Cc: Abha Khanna <akhanna@elias.law>; Jacob Shelly <jshelly@elias.law>; Jonathan Hawley <jhawley@elias.law>;
Alison (Qizhou) Ge <age@elias.law>; J. Cullens <cullens@lawbr.net>; S. Layne Lee <laynelee@lawbr.net>; Andrée
M. Cullens <acullens@lawbr.net>; Savitt, Adam P <asavitt@paulweiss.com>; Amitav Chakraborty
<achakraborty@paulweiss.com>; Jonathan Hurwitz <jhurwitz@paulweiss.com>; Leah Aden
<laden@naacpldf.org>; Sarah Brannon <sbrannon@aclu.org>; Stuart Naifeh <snaifeh@naacpldf.org>; Alora
Thomas <athomas@aclu.org>; Victoria Wenger <vwenger@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>;
Sara Rohani <SRohani@naacpldf.org>; Sophia LIn Lakin <slakin@aclu.org>; Jared Evans <jevans@naacpldf.org>;
John Adcock <jnadcock@gmail.com>; tracie.washington.esq@gmail.com; Megan Keenan <MKeenan@aclu.org>
Subject: RE: Robinson v. Ardoin / Galmon v. Ardoin -- Meet and Confer re Pre-Hearing Schedule

Thanks, Erika. We’ll send a Teams link for 4-5 tomorrow.


Lali Madduri
Counsel
Elias Law Group LLP
202-968-4593


CONFIDENTIAL: This email may contain privileged or confidential information and is for the sole use of the intended recipient(s). Any unauthorized use or
disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately and delete it
from your system.


From: Prouty, Erika Dackin <eprouty@bakerlaw.com>



                                                                               4
        Case 3:22-cv-00211-SDD-SDJ                  Document 255-3            07/21/23 Page 5 of 7


Sent: Wednesday, July 19, 2023 4:02 PM
To: Lali Madduri <lmadduri@elias.law>; McKnight, Katherine L. <kmcknight@bakerlaw.com>; Phil Strach
<phil.strach@nelsonmullins.com>; Murrill, Elizabeth <MurrillE@ag.louisiana.gov>; Alyssa Riggins
<alyssa.riggins@nelsonmullins.com>; Freel, Angelique <FreelA@ag.louisiana.gov>; Lewis, Patrick T.
<plewis@bakerlaw.com>; Jones, Carey <JonesCar@ag.louisiana.gov>; Cassie Holt
<cassie.holt@nelsonmullins.com>; Jason Torchinsky <jtorchinsky@holtzmanvogel.com>; Wale, Jeffrey M.
<WaleJ@ag.louisiana.gov>; John Branch <john.branch@nelsonmullins.com>; Mengis, Michael W.
<mmengis@bakerlaw.com>; McPhee, Shae <McPheeS@ag.louisiana.gov>; Tom Farr
<tom.farr@nelsonmullins.com>; Braden, E. Mark <MBraden@bakerlaw.com>; Dallin Holt
<dholt@holtzmanvogel.com>; john@scwllp.com; Raile, Richard <rraile@bakerlaw.com>
Cc: Abha Khanna <akhanna@elias.law>; Jacob Shelly <jshelly@elias.law>; Jonathan Hawley <jhawley@elias.law>;
Alison (Qizhou) Ge <age@elias.law>; J. Cullens <cullens@lawbr.net>; S. Layne Lee <laynelee@lawbr.net>; Andrée
M. Cullens <acullens@lawbr.net>; Savitt, Adam P <asavitt@paulweiss.com>; Amitav Chakraborty
<achakraborty@paulweiss.com>; Jonathan Hurwitz <jhurwitz@paulweiss.com>; Leah Aden
<laden@naacpldf.org>; Sarah Brannon <sbrannon@aclu.org>; Stuart Naifeh <snaifeh@naacpldf.org>; Alora
Thomas <athomas@aclu.org>; Victoria Wenger <vwenger@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>;
Sara Rohani <SRohani@naacpldf.org>; Sophia LIn Lakin <slakin@aclu.org>; Jared Evans <jevans@naacpldf.org>;
John Adcock <jnadcock@gmail.com>; tracie.washington.esq@gmail.com; Megan Keenan <MKeenan@aclu.org>
Subject: RE: Robinson v. Ardoin / Galmon v. Ardoin -- Meet and Confer re Pre-Hearing Schedule

Dear Counsel,

On behalf of the Defendant/Intervenors, we are available tomorrow between 3:30pm to 5pm ET tomorrow to
meet and confer to discuss a proposed pre-hearing schedule.

In preparation for that meet and confer, below is Defendant/Intervenors’ proposal for the pre-hearing schedule.
To be clear, Plaintiffs’ supplemental expert reports will not be permitted to include any new remedial plans, per
Plaintiffs’ counsel’s representations to the Court during last week’s status conference.

 Date                                    Deadline
 Friday, August 4, 2023                  Plaintiffs’ Supplemental Expert Reports Due
 Friday, August 11, 2023                 Exchange Fact & Expert Witness Lists
 Friday, September 8, 2023               Defendants’ Supplemental Expert Reports Due
 Friday, September 15, 2023              Deadline for Fact and Expert Depositions
 Friday, September 22, 2023              Supplemental Memorandum in Support and Memorandum in
                                         Opposition of Proposed Remedial Plan Due
 Friday, September 29, 2023              Exchange Final Witness Lists and Copies of Exhibits
 Tuesday, October 3 to Thursday,         Preliminary Injunction Hearing on Remedy
 October 5, 2023

Sincerely,


Erika Prouty
Associate


200 Civic Center Drive | Suite 1200
Columbus, OH 43215-4138
T +1.614.462.4710

eprouty@bakerlaw.com
bakerlaw.com




                                                         5
         Case 3:22-cv-00211-SDD-SDJ                                     Document 255-3                      07/21/23 Page 6 of 7




From: Lali Madduri <lmadduri@elias.law>
Sent: Tuesday, July 18, 2023 5:16 PM
To: McKnight, Katherine L. <kmcknight@bakerlaw.com>; Phil Strach <phil.strach@nelsonmullins.com>; Murrill,
Elizabeth <MurrillE@ag.louisiana.gov>; Prouty, Erika Dackin <eprouty@bakerlaw.com>; Alyssa Riggins
<alyssa.riggins@nelsonmullins.com>; Freel, Angelique <FreelA@ag.louisiana.gov>; Lewis, Patrick T.
<plewis@bakerlaw.com>; Jones, Carey <JonesCar@ag.louisiana.gov>; Cassie Holt
<cassie.holt@nelsonmullins.com>; Jason Torchinsky <jtorchinsky@holtzmanvogel.com>; Wale, Jeffrey M.
<WaleJ@ag.louisiana.gov>; John Branch <john.branch@nelsonmullins.com>; Mengis, Michael W.
<mmengis@bakerlaw.com>; McPhee, Shae <McPheeS@ag.louisiana.gov>; Tom Farr
<tom.farr@nelsonmullins.com>; Braden, E. Mark <MBraden@bakerlaw.com>; Dallin Holt
<dholt@holtzmanvogel.com>; john@scwllp.com; Raile, Richard <rraile@bakerlaw.com>
Cc: Abha Khanna <akhanna@elias.law>; Jacob Shelly <jshelly@elias.law>; Jonathan Hawley <jhawley@elias.law>;
Alison (Qizhou) Ge <age@elias.law>; J. Cullens <cullens@lawbr.net>; S. Layne Lee <laynelee@lawbr.net>; Andrée
M. Cullens <acullens@lawbr.net>; Savitt, Adam P <asavitt@paulweiss.com>; Amitav Chakraborty
<achakraborty@paulweiss.com>; Jonathan Hurwitz <jhurwitz@paulweiss.com>; Leah Aden
<laden@naacpldf.org>; Sarah Brannon <sbrannon@aclu.org>; Stuart Naifeh <snaifeh@naacpldf.org>; Alora
Thomas <athomas@aclu.org>; Victoria Wenger <vwenger@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>;
Sara Rohani <SRohani@naacpldf.org>; Sophia LIn Lakin <slakin@aclu.org>; Jared Evans <jevans@naacpldf.org>;
John Adcock <jnadcock@gmail.com>; tracie.washington.esq@gmail.com; Megan Keenan <MKeenan@aclu.org>
Subject: Robinson v. Ardoin / Galmon v. Ardoin -- Meet and Confer re Pre-Hearing Schedule


[External Email: Use caution when clicking on links or opening attachments.]

Counsel,

I am writing on behalf of the Galmon and Robinson Plaintiffs. Per yesterday’s Court order, are defense counsel
available on Thursday 7/20 between 3 and 5pm ET to meet and confer regarding a pre-hearing schedule?

Thanks,
Lali

Lali Madduri
Counsel
Elias Law Group LLP
202-968-4593


CONFIDENTIAL: This email may contain privileged or confidential information and is for the sole use of the intended recipient(s). Any unauthorized use or
disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately and delete it
from your system.




This email is intended only for the use of the party to which it is
addressed and may contain information that is privileged,
confidential, or protected by law. If you are not the intended
recipient you are hereby notified that any dissemination, copying
or distribution of this email or its contents is strictly prohibited.
If you have received this message in error, please notify us immediately
by replying to the message and deleting it from your computer.

Any tax advice in this email is for information purposes only. The content




                                                                               6
          Case 3:22-cv-00211-SDD-SDJ                                     Document 255-3   07/21/23 Page 7 of 7


of this email is limited to the matters specifically addressed herein
and may not contain a full description of all relevant facts or a
complete analysis of all relevant issues or authorities.

Internet communications are not assured to be secure or clear of
inaccuracies as information could be intercepted, corrupted, lost,
destroyed, arrive late or incomplete, or contain viruses. Therefore,
we do not accept responsibility for any errors or omissions that are
present in this email, or any attachment, that have arisen as a result
of e-mail transmission.




                                                                           7
